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                                                                                                        E-FILED
                                                                           Friday, 03 June, 2022 08:33:05 AM
                                                                                Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

AARON O’NEAL,                                         )
                                                      )
                       Plaintiff,                     )
                                                      )
                       v.                             )       Case No. 4:18-cv-04063
                                                      )
MANUEL ROJAS, et al.,                                 )       Hon. Sue E. Myerscough
                                                      )
                       Defendants.                    )

                                FINAL PRETRIAL ORDER

       This matter having come before the Court at a pre-trial conference held pursuant to Rule

16 of the Federal Rules of Civil Procedure and Local Rule 16.1; and

       Reede Neutze and Stephen Beemsterboer, having appeared as counsel for Plaintiff Aaron

O’Neal; and

       Maria D. Gray, having appeared as counsel for Defendants Manuel Rojas, Steve Gans,

John Frost, Stephanie Dorethy, John Baldwin and Melissa Pelker;

       the following action was taken:

                                    I.   NATURE OF ACTION

       This is an action for money damages brought by Plaintiff Aaron O’Neal pursuant to 42

U.S.C. § 1983 alleging violations of his First and Fourteenth Amendment rights while an inmate

in the custody of the Illinois Department of Corrections (“IDOC”). This action was filed against

Defendants Manuel Rojas, Steve Gans, John Frost, Stephanie Dorethy, John Baldwin, and Melissa

Pelker (f/k/a Phoenix), employees of IDOC at all times relevant to the complaint, in their individual

capacities. Plaintiff was housed at Hill Correctional Center (“Hill”) from 2005 to late 2021.
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        Plaintiff alleges that, Defendants violated Plaintiff’s religious rights by not providing him

with meatless meals during the Lenten season, in violation of his First Amendment rights. Plaintiff

further alleges that in 2016 Defendant Rojas retaliated against Plaintiff by precluding him from

attending religious services for six to eight months after Plaintiff confronted Defendant Rojas, in

violation of his First Amendment rights. Plaintiff alleges that Defendants violated his Fourteenth

Amendment Equal Protection Rights when they granted inmates of other religions a religious diet

but not him.

        Defendants deny they violated any of Plaintiff’s constitutional rights and that Plaintiff is

entitled to any relief in this case.

                                       II.   JOINT STATEMENT

A.      Jurisdiction

        This is a civil case arising under 42 U.S.C. §1983. This Court has original jurisdiction

over this case pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343. The jurisdiction of this Court

is not in dispute. Whether Plaintiff exhausted his administrative remedies is not in dispute.

B.      Uncontested Issues of Fact

     1. At all relevant times, Plaintiff was an inmate at Hill Correctional Center.

     2. Plaintiff is currently incarcerated at Southwestern Correction Center.

     3. At all relevant times, Defendants Manuel Rojas, Stephanie Dorethy, Steve Gans, and

        John Frost were employed by IDOC and worked at Hill.

     4. At all relevant times, Defendants John Baldwin and Melissa Pelker were employed by

        IDOC.

C.      Uncontested Issues of Law

     1. The Defendants acted under color of state law.



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D.      Contested Issues of Fact

     1. Whether Defendants Rojas, Dorethy, Frost, Gans, Pheonix (Pelker), and Baldwin violated

        Plaintiff’s First Amendment rights by failing to provide him with meatless meals on

        Fridays during Lent.

     2. Whether Defendants Rojas, Dorethy, Frost, Gans, Phoenix (Pelker), and Baldwin violated

        Plaintiff’s Fourteenth Amendment rights regarding Catholic services.

     3. Whether Defendant Rojas violated Plaintiff’s First Amendment rights by retaliating

        against him.

     4. Whether Defendant Rojas had a conversation with Plaintiff in February or March of

        2016.

     5. Whether Defendant Rojas precluded Plaintiff from attending religious services for six to

        eight months in 2016 following the alleged conversation in March.

     6. Whether Plaintiff ever received a diet consistent with his religious faith on Fridays during

        Lent for all three meals while incarcerated at Hill.

     7. Whether Defendants acted with intent to violate or with deliberate indifference to

        Plaintiff’s constitutional rights.

     8. Whether Defendant Rojas provided Religious Diet Request forms to Catholic inmates

        prior to 2018.

     9. At all relevant times, Plaintiff was and professed to be a practicing Catholic.

     10. Plaintiff’s formal religious diet requests for the Lenten season were never approved

        during the timeline relevant to this case.

     11. Other religious groups were provided alternative meals consistent with their religious

        practice.



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     12. Defendant Rojas precluded Plaintiff from attending at least one Cursillo service and one

        Ultreya service in March of 2016.

E.      Contested Issues of Law

     1. Whether Defendants violated 42 U.S.C. § 1983 and Plaintiff’s First Amendment right to

        reasonable opportunities to practice his religion.

     2. Whether Defendant Rojas violated 42 U.S.C. § 1983 and Plaintiff’s First Amendment right

        to free speech.

     3. Whether Defendants violated 42 U.S.C. § 1983 and Plaintiff’s Fourteenth Amendment

        Equal Protection rights.

F.      Jury Demand

        Plaintiff has demanded a trial by jury.

                              III.    PLAINTIFF’S STATEMENT

A.      Itemized Statement of Damages

     1. Plaintiff seeks an award of compensatory damages for commissary expenses in the

        following amounts:

            a. $266.06 jointly and severally against Defendant Manuel Rojas

            b. $266.06 jointly and severally against Defendant Stephanie Dorethy

            c. $266.06 jointly and severally against Defendant Melissa Pelker

            d. $266.06 jointly and severally against Defendant John Baldwin

            e. $266.06 jointly and severally against Defendant Steve Gans

            f. $266.06 jointly and severally against Defendant John Frost

     2. In the event the jury does not award compensatory damages, Plaintiff seeks an award of

        nominal damages in the amount of $1.00 for each of the defendants.



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   3. Plaintiff seeks an award of punitive damages for defendants in the following amounts:

            a. $60,000 against Defendant Manuel Rojas

            b. $60,000 against Defendant Stephanie Dorethy

            c. $60,000 against Defendant Melissa Pelker

            d. $60,000 against Defendant John Baldwin

            e. $50,000 against Defendant Steve Gans

            f. $30,000 against Defendant John Frost

                                  IV.   EXHIBITS ATTACHED

       The following are attached as exhibits to this order and are made a part hereof:

       A.      Stipulation of Uncontested Facts and Issues of Law

       B.      Witness List for Plaintiff

       C.      Witness List for Defendants

       D.      Exhibit List for Plaintiff

       E.      Exhibit List for Defendants

       F.      Plaintiff’s Demonstrative Aids

       G.      Proposed Jury Instructions

       H.      Pretrial Motions

                               V.       ADDITIONAL MATTERS

The following additional action was taken:

       1.      The testimony of the following inmate witnesses is necessary for trial. The Clerk
               is directed to issue a Video Writ for the following inmate witnesses to appear by
               videoconference:

                 Name                        IDOC #                 Current Correctional Center
                 Robert Shachter             M51366                 Hill Correctional Center
                 Mitchell B. Tedd            B67475                 Hill Correctional Center
                 John Lavelle                R58527                 Danville Correctional Center

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       2.      The testimony of the Defendants is necessary for trial. Defendants will appear to
               testify in person at trial:

                  Name                      Title                       Current Correctional Center
                  Manuel Rojas           Retired
                  Stephanie Dorethy Regional Director            Indiana Department of Corrections
                  John Baldwin           Retired
                  Melissa Pelker         Retired
                  John Frost             Retired
                  Steve Gans             Retired

       3. The testimony of the Plaintiff’s expert witness, Father Matthew Baugh, is necessary
          for trial. The Clerk is directed to facilitate the videoconference when Plaintiff calls
          the witness to testify at trial.


       4.      The testimony and presence of the plaintiff, Aaron O’Neal, #N53022, is necessary
               for trial. The Clerk is directed to issue an in-person writ for the Plaintiff’s
               appearance. Plaintiff is presently incarcerated at Southwestern Correctional
               Center.


       IT IS UNDERSTOOD BY THE PARTIES THAT:

       A party may supplement a list of witnesses or exhibits only upon good cause shown in a

motion filed and served upon the other parties prior to trial; except that, upon the development of

testimony fairly shown to be unexpected, any party may, with leave of court, call such contrary

witnesses or use such exhibits as may be necessary to counter the unexpected evidence, although

not previously listed, and without prior notice of any other party.

       It is mutually estimated that the length of trial will not exceed three full days. The case

will be listed on the trial calendar to be tried when reached.

       This pre-trial order may be modified at the trial of the action, or prior thereto, to prevent

manifest injustice. Such modification may be made either on motion of counsel for any party or

on the Court’s own motion.




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       Any additional proposed jury instructions shall be submitted to the Court within seven

days before the commencement of the trial, but counsel for the respective parties have the right

to submit supplemental proposals for instructions during the course of the trial or at the

conclusion of the evidence on matters that could not reasonably have been anticipated.



       IT IS SO ORDERED
                                        s/ Karen L. McNaught
                                        ____________________________

                                            Karen L. McNaught
                                            U.S. Magistrate Judge


                        6/2/2022
       Date Entered: __________________

       APPROVED AS TO FORM AND SUBSTANCE:

         s/ Stephen Beemsterboer

       __s/ Alexandra Reede Neutze
         ____________________
        U of I College Law Students
        on behalf of Plaintiff


         s/ AAG Maria Gray
       _____________________
       Attorney for Defendants




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       EXHIBIT A
Stipulation of Uncontested Facts
       and Issues of Law




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                  STIPULATION OF UNCONTESTED FACTS

1. During all relevant times Defendants were employed by IDOC.




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              STIPULATION OF UNCONTESTED ISSUES OF LAW

1. The Defendants acted under color of state law.




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       Exhibit B
Witness List for Plaintiff




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                        WITNESS LIST FOR PLAINTIFF

WITNESS NAME        ADDRESS                                      EXPERT    ADVERSE
                    Southwestern Correctional Center
  Aaron O’Neal      950 Kingshighway
                    East St. Louis, IL 62203

 Matthew Baugh      [REDACTED]                                         X

                    Danville Correctional Center
   John Lavelle     3820 E. Main St.
                    Danville, IL 61834
                    Hill Correctional Center
 Robert Shachter    600 S. Linwood Rd.
                    Galesburg, IL 61401
                    Hill Correctional Center
 Mitchell B. Tedd   600 S. Linwood Rd.
                    Galesburg, IL 61401
                    Illinois Attorney General
  Manuel Rojas      500 S. Second St.                                        X
                    Springfield, IL 62701
                    Illinois Attorney General
Stephanie Dorethy   500 S. Second St.                                        X
                    Springfield, IL 62701
                    Illinois Attorney General
    John Frost      500 S. Second St.                                        X
                    Springfield, IL 62701
                    Illinois Attorney General
  John Baldwin      500 S. Second St.                                        X
                    Springfield, IL 62701
                    Illinois Attorney General
   Steve Gans       500 S. Second St.                                        X
                    Springfield, IL 62701
                    Illinois Attorney General
  Melissa Pelker    500 S. Second St.                                        X
                    Springfield, IL 62701
                    Illinois Attorney General
  Freddie Britton   500 S. Second St.                                        X
                    Springfield, IL 62701
                    Heyl, Royster, Voelker, & Allen, P.C.
 Robert Rodriguez   300 Hamilton Blvd.                                       X
                    Peoria, IL 61601

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                          Heyl, Royster, Voelker, & Allen, P.C.
    Joseph Lahood         300 Hamilton Blvd.                                                X
                          Peoria, IL 61601


Plaintiff reserves the right to call any of witnesses listed by Defendants, witnesses necessary to
lay foundation, or a custodian of records.




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        Exhibit C
Witness List for Defendants




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                      WITNESS LIST FOR DEFENDANTS

WITNESS NAME        ADDRESS                                   EXPERT   ADVERSE

Aaron O’Neal        University of Illinois School of Law
                    Civil Rights Clinic                                  X
                    c/o Reede Neutze and Steve Beemsterboer

                    Illinois Attorney General
Manuel Rojas        500 S. Second St.
                    Springfield, IL 62701
                    Illinois Attorney General
Stephanie Dorethy   500 S. Second St.
                    Springfield, IL 62701
                    Illinois Attorney General
John Frost          500 S. Second St.
                    Springfield, IL 62701
                    Illinois Attorney General
John Baldwin        500 S. Second St.
                    Springfield, IL 62701
                    Illinois Attorney General
Steve Gans          500 S. Second St.
                    Springfield, IL 62701
                    Illinois Attorney General
Melissa Pelker      500 S. Second St.
                    Springfield, IL 62701
                    Illinois Attorney General
Freddie Britton     500 S. Second St.
                    Springfield, IL 62701




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       Exhibit D
Exhibit List for Plaintiff




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                               EXHIBIT LIST FOR PLAINTIFF

         Pursuant to Local Rule 16.1 of the United States District Court for the Central District of
Illinois, Plaintiff Aaron O’Neal hereby submits the following exhibit list:

                                         ADMIT
 No.         DESCRIPTION                WITHOUT          AUTHENTICATION              OBJECTION
                                       OBJECTION             WAIVED
  1    Plaintiff’s Offender
       Grievance #17-0114 dated                                     X                 X - hearsay
       April 14, 2016 (Bates No.
       241-251)
  2    Manuel Rojas’s Note to
       Plaintiff dated March 18,                                    X
       2016 (Bates No. 256-57)
  3    “Counseling Summary”
       form indicating Plaintiff’s
       Grievance was received on                                    X
       April 20, 2016 (Bates No.
       263)
 4     Manuel Rojas Transcribed
       Response to Plaintiff’s                                      X                 X - hearsay
       Grievance dated April 14,
       2016 (Bates No. 274)
  5    Plaintiff’s Supplemental
       Reply to Chaplain Rojas
       Response to Plaintiff’s                                      X                 X – hearsay
       Grievance dated April 14,
       2016 (Bates No. 275-277)
  6    Plaintiff’s Supplemental
       Reply Response to
       Counselor John Frost’s                                       X                 X - hearsay
       Investigation of Plaintiff’s
       Grievance dated April 14,
       2016 (Bates No. 278-279)
  7    Steve Gans’ Grievance
       Officer Report and
       Recommendation for                                           X
       Plaintiff’s Grievance dated
       April 14, 2016 (Bates No.
       239-40)
  8    Plaintiff’s Response to
       Steve Gans Grievance
       Report and                                                   X                 X - hearsay
       Recommendation for
       Plaintiff’s Grievance dated

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     April 14, 2016 (Bates No.
     264-268)
9    Administrative Review
     Board Grievance Form
     Denial of Plaintiff’s Appeal                      X
     dated March 7, 2017
     (Bates No. 238)
10   Memorandum from Rojas to
     Plaintiff about Religious                                   X - hearsay
     Diet
11   Plaintiff’s “Offender
     Request for Religious Diet”                                X – relevancy,
     dated January 19, 2018                                        hearsay
12   Plaintiff’s Offender Request
     dated June 6, 2017                                          X - hearsay
     (Dietician)
13   Plaintiff’s Offender
     Grievance dated June 21,                                    X - hearsay
     2017
14   John Lavelle’s Grievance
     dated March 1, 2017                                        X – relevancy,
                                                                   hearsay
15   John Lavelle’s Grievance
     dated March 31, 2017                                       X – relevancy,
                                                                   hearsay
16   John Lavelle’s Letter to
     Grievance Officer                                          X – relevancy,
                                                                   hearsay
17   John Lavelle’s Letter to
     Manuel Rojas dated January                                 X- relevancy,
     10, 2018                                                     hearsay
18   Chaplaincy Handbook
     (Bates No. 347-603)                               X
19   Warden Job Description.
     (Bates No. 000003-04)                             X

20   Chaplain II Job Description
     (Bates No. 000005-06)                             X

21   Executive II Job
     Description (Bates No. 604-                       X
     605)
22   Correctional Counselor I
     Job Description (Bates No.                        X
     606-607)


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23   Correctional Counselor II
     Job Description (Bates No.                        X
     608-09)
25   Administrative Directive
     04.01.114 “Local Offender                         X        X - relevancy
     Grievance Procedures”
     (Bates No. 000019-25)
26   Administrative Directive
     04.01.115 “Administrative                         X
     Review Board Proceedings”
     (Bates No. 000026-30)
27   Administrative Directive
     04.25.101 “Chaplaincy                             X
     Services” (Bates No.
     000009-12)
28   Administrative Directive
     04.25.102 “Religious Diets”                       X
     (Bates No. 000013-18)
29   Administrative Code Title
     20, Chapter I, Subchapter d,
     Part 425 “Chaplaincy
     Services and Religious
     Practices”
30   Administrative Code Title
     20, Chapter I, Subchapter e,                               X - relevancy
     Part 504 “Discipline and
     Grievances”
31   Departmental Rule 504
     “Grievance Procedures”                            X        X - relevancy
     (Bates No. 119-176)
32   Blank Offender Request for
     Religious Diet form (Bates                        X
     No. 232)
33   Deposition of Manuel Rojas
     (For impeachment and
     refreshing recollection)
34   Deposition of John Frost
     (For impeachment and
     refreshing recollection)
35   Deposition of Steve Gans
     (For impeachment and
     refreshing recollection)
36   Deposition of Stephanie
     Dorethy
     (For impeachment and
     refreshing recollection)

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37   Deposition of John Baldwin
     (For impeachment and
     refreshing recollection)
38   Deposition of Melissa
     Pelker
     (For impeachment and
     refreshing recollection)
39   July 20, 2020 Declaration of
     Manuel Rojas
     (For impeachment and
     refreshing recollection)
40   July 17, 2020 Declaration of
     Karen Norman Rees                                          X – relevancy,
     (For impeachment and                                       hearsay,
     refreshing recollection)                                   foundation
41   Defendant Baldwin’s
     February 14, 2022 Answers
     to Interrogatories
     (For impeachment and
     refreshing recollection)
42   Defendant Stephanie
     Dorethy’s February 14,
     2022 Answers to
     Interrogatories
     (For impeachment and
     refreshing recollection)
43   Defendant Steve Gans’s
     February 14, 2022 Answers
     to Interrogatories
     (For impeachment and
     refreshing recollection)
44   Defendant John Frost’s
     February 14, 2022 Answers
     to Interrogatories
     (For impeachment and
     refreshing recollection)
45   Defendant Melissa Pelker’s
     February 14, 2022 Answers
     to Interrogatories
     (For impeachment and
     refreshing recollection)
46   Defendant Manuel Rojas’s
     February 17, 2022 Answers
     to Interrogatories
     (For impeachment and
     refreshing recollection)

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47   Defendant Manuel Rojas’s
     February 24, 2022
     Response to Plaintiff’s
     Request for Production
     (For impeachment and
     refreshing recollection)
48   Defendant John Baldwin’s
     February 24, 2022
     Response to Plaintiff’s
     Request for Production
     (For impeachment and
     refreshing recollection)
49   Defendant John Frost’s
     February 24, 2022
     Response to Plaintiff’s
     Request for Production
     (For impeachment and
     refreshing recollection)
50   Defendant Steve Gans’s
     February 24, 2022
     Response to Plaintiff’s
     Request for Production
     (For impeachment and
     refreshing recollection)
51   Defendant Stephanie
     Dorethy’s February 24,
     2022 Response to Plaintiff’s
     Request for Production
     (For impeachment and
     refreshing recollection)
52   Defendant Melissa Pelker’s
     February 24, 2022
     Response to Plaintiff’s
     Request for Production
     (For impeachment and
     refreshing recollection)
53   Declaration of Andrea
     Costner February 24, 2022                                  X- relevancy,
     (For impeachment and                                         hearsay,
     refreshing recollection)                                    foundation
54   Freddie Britton’s September
     18, 2019 Response to
     Plaintiff’s Request for
     Admissions
     (For impeachment and
     refreshing recollection)

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55   Defendant Manuel Rojas’s
     September 18, 2019
     Response to Request for
     Admissions
     (For impeachment and
     refreshing recollection)
56   Defendant Stephanie
     Dorethy’s September 20,
     2019 Response to
     Interrogatories
     (For impeachment and
     refreshing recollection)
57   Defendant John Frost’s
     September 18, 2019
     Response to Plaintiff's
     Second Set of
     Interrogatories
     (For impeachment and
     refreshing recollection)
58   Defendant John Baldwin’s
     September 18, 2019
     Response to Plaintiff's
     Second Set of
     Interrogatories
     (For impeachment and
     refreshing recollection)
59   Mitchell B. Tedd’s
     Affidavit                                                X – relevancy,
     (For impeachment and                                        hearsay
     refreshing recollection)
60   John Lavelle’s Affidavit
     (For impeachment and                                     X – relevancy,
     refreshing recollection)                                    hearsay
61   Robert Shachter Affidavit
     (For impeachment and                                      X- relevancy,
     refreshing recollection)                                    hearsay
62   Aaron O’Neal’s
     Commissary Records 2016-                        X
     2018 (Bates No. 308-333)
63   Clarence Dukes Religious                                 X – relevancy,
     Diet Request Form                                        hearsay
     04/20/2017




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        Exhibit E
Exhibit List for Defendants




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                             EXHIBIT LIST FOR DEFENDANTS

         Pursuant to Local Rule 16.1 of the United States District Court for the Central District of
Illinois, Defendants hereby submits the following exhibit list:

                                         ADMIT
 No.         DESCRIPTION                WITHOUT          AUTHENTICATION              OBJECTION
                                       OBJECTION             WAIVED
  1    Cumulative Counseling                                                       X- Hearsay, 403
       Summary “CHAMPS”
       (Bates No. 296-306)
  2    Plaintiff’s Commissary                 X                     X
       Purchases (Bates No. 308-
       333)
  3    Plaintiff’s deposition
       transcript
  4    Plaintiff’s April 14, 2016             X                     X
       Grievance #17-0114 (Bates
       No. 241-251)
  5    Manuel Rojas’s “Memo” to               X                     X
       Plaintiff dated March 18,
       2016 (Bates No. 256-57)
  6    Counselor Frost’s Response             X                     X
       to Plaintiff’s Grievance
       dated July 13, 2018 (Bates
       No. 274)
  7    Grievance Officer’s Report             X                     X
       and Recommendation dated
       August 4, 2016 (Bates 239-
       240)
  8     Administrative Review                 X                     X
        Board Decision, dated
        March 7, 2017 (Bates 238)
  9    Chaplaincy Handbook                    X                     X
       (Bates No. 347-603)
 10    Plaintiff’s assignment                                                       X- hearsay, 403
       history (Bates 307)




                                                                                                 24
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             Exhibit F
Plaintiff’s List of Demonstrative Aids




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                    PLAINTIFF’S DEMONSTRATIVE AIDS

1. Excel sheet of commissary records

2. PowerPoint for closing argument.




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        Exhibit G
Proposed Jury Instructions




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                               PROPOSED JURY INSTRUCTIONS

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 SPRINGFIELD DIVISION



O’NEAL,                                                 )
                                                        )
                       Plaintiff,                       )
                                                        )
                       v.                               )       Case No. 4:18-CV-04063
                                                        )
ROJAS, et al.,                                          )       Hon. Sue E. Myerscough
                                                        )
                       Defendants.                      )


                                       JURY INSTRUCTIONS

                                 [rest of page left intentionally blank]




Given ______     Refused______      Withdrawn______
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Plaintiff’s Proposed #1: Functions of the Court and the

Jury

        Members of the jury, you have seen and heard all the

evidence and arguments of the attorneys. Now I will

instruct you on the law.

        You have two duties as a jury. Your first duty is to

decide the facts from the evidence in the case. This is your

job, and yours alone.

        Your second duty is to apply the law that I give you to

the facts. You must follow these instructions, even if you

disagree with them. Each of the instructions is important,

and you must follow all of them.

        Perform these duties fairly and impartially.

        Nothing I say now, and nothing I said or did during the

trial, is meant to indicate any opinion on my part about

what the facts are or about what your verdict should be.

Plaintiff’s No. 1
7th Cir. P. I. 1.01

Given ______    Refused______   Withdrawn______
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Steve




Given ______   Refused______   Withdrawn______
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Plaintiff’s Proposed #2: No Inference from Judge’s

Questions

        During this trial, I have asked a witness a question

myself. Do not assume that because I asked questions I hold

any opinion on the matters I asked about, or on what the

outcome of the case should be.


Plaintiff’s No. 2
7th Cir. P.I. 1.02




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #3: Evidence

                The evidence consists of the testimony of the

witnesses,            the       exhibits       admitted   in    evidence,   and

stipulations.

Plaintiff’s No. 3
7th Cir. P. I. 1.04




Given ______    Refused______    Withdrawn______
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Plaintiff’s Proposed #4: What is Not Evidence

       Certain things are not to be considered as evidence. I

will list them for you:

       First, if I told you to disregard any testimony or exhibits

or struck any testimony or exhibits from the record, such

testimony or exhibits are not evidence and must not be

considered.

       Second, anything that you may have seen or heard

outside the courtroom is not evidence and must be entirely

disregarded.

       Third, questions and objections or comments by the

lawyers are not evidence. Lawyers have a duty to object when

they believe a question is improper. You should not be

influenced by any objection, and you should not infer from

my rulings that I have any view as to how you should decide

the case.




Given ______   Refused______   Withdrawn______
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        Fourth, the lawyers’ opening statements and closing

arguments to you are not evidence. Their purpose is to

discuss the issues and the evidence. If the evidence as you

remember it differs from what the lawyers said, your memory

is what counts.


Plaintiff’s No. 4
7th Cir. P. I. 1.06




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #5: Note-Taking

        Any notes you have taken during this trial are only aids

to your memory. The notes are not evidence. If you have not

taken          notes,     you      should         rely    on    your     independent

recollection of the evidence and not be unduly influenced by

the notes of other jurors. Notes are not entitled to any greater

weight than the recollections or impressions of each juror

about the testimony.

Plaintiff’s No. 5
7th Cir. P. I. 1.07




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #6: Consideration of All Evidence

Regardless of Who Produced

        In determining whether any fact has been proved, you

should consider all of the evidence bearing on the question

regardless of who introduced it.


Plaintiff’s No. 6
7th Cir. P. I. 1.08




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #7: Limited Purpose of Evidence

        You will recall that during the course of this trial I

instructed you that I admitted certain evidence for a limited

purpose. You must consider this evidence only for the

limited purpose for which it was admitted.


Plaintiff’s No. 7
7th Cir. P. I. 1.09




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #8: Weighing the Evidence

        You should use common sense in weighing the

evidence and consider the evidence in light of your own

observations in life.

        In our lives, we often look at one fact and conclude

from it that another fact exists. In law we call this

“inference.” A jury is allowed to make reasonable

inferences. Any inference you make must be reasonable

and must be based on the evidence in the case.

Plaintiff’s No. 8
7th Cir. P. I. 1.11




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #9: Definition of “Direct” and

“Circumstantial”

       You may have heard the phrases “direct evidence” and

“circumstantial evidence.”

       Direct evidence is proof that does not require an

inference, such as the testimony of someone who claims to

have personal knowledge of a fact.

       Circumstantial evidence is proof of a fact, or a series of

facts, that tends to show that some other fact is true.

       As an example, direct evidence that it is raining is

testimony from the witness who says, “I was outside a

minute ago and I saw it raining.” Circumstantial evidence

that it is raining is the observation of someone entering a

room carrying a wet umbrella.

       The law makes no distinction between the weight to be

given to either direct or circumstantial evidence. You

should decide how much weight to give to any evidence. In


Given ______   Refused______   Withdrawn______
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reaching your verdict, you should consider all the evidence

in the case, including the circumstantial evidence.


Plaintiff’s No. 9
7th Cir. P. I. 1.12




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #10: Testimony of Witnesses

       You must decide whether the testimony of each of the

witnesses is truthful and accurate, in part, in whole, or not

at all. You also must decide what weight, if any, you give to

the testimony of each witness.

       In evaluating the testimony of any witness, you may

consider, among other things:

   (1)         The ability and opportunity the witness had to

       see, hear, or know the things that the witness testified

       about;


   (2)         The witness’s memory;


   (3)         Any interest, bias, or prejudice the witness may

       have;


   (4)         The witnesses’ intelligence;


   (5)         The manner of the witness while testifying; and




Given ______   Refused______   Withdrawn______
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    (6)         The reasonableness of the witness’s testimony in

        light of all the evidence in the case.


Plaintiff’s No. 10
7th Cir. P. I. 1.13




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #11: Prior Inconsistent

Statement/Act

       You may consider statements given by a party or

witness under oath before trial as evidence of the truth of

what he said in the earlier statements, as well as in

deciding what weight to give his testimony.


       With respect to other witnesses, the law is different. If

you decide that, before the trial, one of these witnesses

made a statement, not under oath, or acted in a manner

that is inconsistent with his testimony here in court, you

may consider the earlier statement only in deciding

whether his testimony here in court was true and what

weight to give to his testimony here in court.


       In considering a prior inconsistent statement or

conduct, you should consider whether it was simply an

innocent error or an intentional falsehood and whether it

concerns an important fact or an unimportant detail.
Given ______   Refused______   Withdrawn______
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Plaintiff’s No. 11
7th Cir. P. I. 1.14




Given ______    Refused______   Withdrawn______
                        4:18-cv-04063-KLM # 196   Page 45 of 74




Plaintiff’s Proposed #12: Impeachment of Witness —

Convictions


        You have heard evidence that Plaintiff and some

witnesses have been convicted of a crime. You may

consider this evidence only in deciding whether his

testimony is truthful in whole, in part, or not at all. You

may not consider this evidence for any other purpose.

Plaintiff’s No. 12
7th Cir. P. I. 1.15




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #13: Lawyer Interviewing Witness

        It is proper for a lawyer to meet with any witness in

preparation for trial.

Plaintiff’s No. 13
7th Cir. P. I. 1.16




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #14: Number of Witnesses

        You may find the testimony of one witness or a few

witnesses more persuasive than the testimony of a larger

number. You need not accept the testimony of the larger

number of witnesses.

Plaintiff’s No. 14
7th Cir. P. I. 1.17




Given ______    Refused______   Withdrawn______
                        4:18-cv-04063-KLM # 196   Page 48 of 74




Plaintiff’s Proposed #15: Absence of Evidence

        The law does not require any party to call as a witness

every person who might have knowledge of the facts related

to this trial. Similarly, the law does not require any party to

present as exhibits all papers and things mentioned during

this trial.

Plaintiff’s No. 15
7th Cir. P. I. 1.18




Given ______    Refused______   Withdrawn______
                        4:18-cv-04063-KLM # 196    Page 49 of 74




Plaintiff’s Proposed #16: Multiple Claims; Multiple

Defendants

        You must give separate consideration to each claim and

each party in this case. Although there are six (6)

defendants, it does not follow that if one is liable, the others

are also liable.

        In considering a claim against a defendant, you must

not      consider          evidence         admitted   only        against   other

defendants or only as to other claims.


Plaintiff’s No. 16
7th Cir. P. I. 1.25




Given ______    Refused______   Withdrawn______
                         4:18-cv-04063-KLM # 196            Page 50 of 74




Plaintiff’s Proposed #17: State Not a Party

       Defendants in this case are being sued as individuals

for alleged personal acts. Neither the State of Illinois nor

the Illinois Department of Corrections is a party to this

lawsuit.



Plaintiff’s No. 17
7th Cir. P. I. 7.01 (modified to state “for alleged personal acts”)




Given ______    Refused______    Withdrawn______
                        4:18-cv-04063-KLM # 196   Page 51 of 74




Plaintiff’s Proposed #18: Burden of Proof

        When I say a particular party must prove something

by “a preponderance of the evidence,” or when I use the

expression “if you find,” or “if you decide,” this is what I

mean: When you have considered all the evidence in the

case, you must be persuaded that it is more probably true

than not true.

Plaintiff’s No. 18
7th Cir. P. I. 1.27




Given ______    Refused______   Withdrawn______
                        4:18-cv-04063-KLM # 196   Page 52 of 74




Plaintiff’s Proposed #19: No Need to Consider Damages

Instruction

        If you decide for the Defendants on the question of

liability, then you should not consider the question of

damages.


Plaintiff’s No. 19
7th Cir. P. I. 1.31




Given ______    Refused______   Withdrawn______
                        4:18-cv-04063-KLM # 196   Page 53 of 74




Plaintiff’s Proposed #23: Selection of Presiding Juror;

General Verdict

        Upon retiring to the jury room, you must select a

presiding juror. The presiding juror will preside over your

deliberations and will be your representative here in court.


        Forms of verdict have been prepared for you.


        Take these forms to the jury room, and when you have

reached unanimous agreement on the verdict, your

presiding juror will fill in, date, and sign the appropriate

form.

Plaintiff’s No. 23
7th Cir. P. I. 1.32




Given ______    Refused______   Withdrawn______
                       4:18-cv-04063-KLM # 196   Page 54 of 74




Plaintiff’s Proposed #24: Disagreement Among Jurors

       The verdicts must represent the considered judgment

of each juror. Your verdicts, whether for or against the

parties, must be unanimous.


       You should make every reasonable effort to reach a

verdict. In doing so, you should consult with one another,

express your own views, and listen to the opinions of your

fellow jurors. Discuss your differences with an open mind.

Do not hesitate to reexamine your own views and change

your opinion if you come to believe it is wrong. But you

should not surrender your honest beliefs about the weight

or effect of evidence solely because of the opinions of other

jurors or for the purpose of returning a unanimous verdict.


       All of you should give fair and equal consideration to

all the evidence and deliberate with the goal of reaching an

agreement that is consistent with the individual judgment

of each juror. You are impartial judges of the facts.
Given ______   Refused______   Withdrawn______
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Plaintiff’s No. 24
7th Cir. P. I. 1.34




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #25: Communication with Court

        I do not anticipate that you will need to communicate

with me during your deliberations. If you do need to

communicate with me, the only proper way is in writing.

The writing must be signed by the presiding juror, or, if he

or she is unwilling to do so, by some other juror. The

writing should be given to the court security officer, who

will give it to me. I will respond either in writing or by

having you return to the courtroom so that I can respond

orally.


        If you do communicate with me, you should not

indicate in your note what your numerical division is, if

any.

Plaintiff’s No. 25
7th Cir. P. I. 1.33




Given ______    Refused______   Withdrawn______
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Plaintiff’s Proposed #26: Damages: Compensatory

       If you find in favor of Plaintiff and against a particular

Defendant, then you must determine the amount of money

that will fairly compensate Plaintiff for any injury that you

find he sustained as a direct result of that Defendant’s

actions. These are called “compensatory damages.”


       Plaintiff must prove his damages by a preponderance

of the evidence. Your award must be based on evidence and

not speculation. This does not mean, however, that

compensatory damages are restricted to the actual loss of

money; they include both the physical and mental aspects

of injury, even if they are not easy to measure.


       In this case the parties dispute whether Plaintiff

suffered a physical injury. If you find that Plaintiff has

proven by a preponderance of the evidence that he suffered

a physical injury, you may award damages for any mental

or emotional injury Plaintiff suffered as well. If you find
Given ______   Refused______   Withdrawn______
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that Plaintiff did not suffer a physical injury, you may not

award damages for mental or emotional injury, but you

may award damages for any other type of injury listed

below. Whether or not Plaintiff proves a physical injury,

you may award nominal damages and punitive damages, so

long as you find that Plaintiff has met the standard for

obtaining those damages.


       You should consider the following types of

compensatory damages, and no others:


       (a)     The reasonable value of supplies that Plaintiff

               reasonably needed and actually received.


If you return a verdict for Plaintiff, but Plaintiff has failed to

prove compensatory damages, then you must award

nominal damages of $1.00.


Plaintiff’s No. 26
7th Cir. P. I. 7.27 (modified)



Given ______    Refused______    Withdrawn______
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's First Amendment Free Exercise claim against Stephanie Dorethy we find in favor
of (check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Stephanie Dorethy

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Stephanie Dorethy, if any, as
$________.___

We fix Plaintiff's compensatory damages against Defendant Stephanie Dorethy as
$________.___

We fix Plaintiff's punitive damages against Defendant Stephanie Dorethy, if any, as
$________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's First Amendment Free Exercise claim against Steve Gans we find in favor of
(check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Steve Gans

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Steve Gans, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant Steve Gans as $________.___

We fix Plaintiff's punitive damages against Defendant Steve Gans, if any, as $________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's First Amendment Free Exercise claim against Manuel Rojas we find in favor of
(check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Manuel Rojas

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Manuel Rojas, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant Manuel Rojas as $________.___

We fix Plaintiff's punitive damages against Defendant Manuel Rojas, if any, as $________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's First Amendment Free Exercise claim against John Frost we find in favor of (check
one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant John Frost

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant John Frost, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant John Frost as $________.___

We fix Plaintiff's punitive damages against Defendant John Frost, if any, as $________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's First Amendment Free Exercise claim against Melissa Pelker we find in favor of
(check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Melissa Pelker

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Melissa Pelker, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant Melissa Pelker as $________.___

We fix Plaintiff's punitive damages against Defendant Melissa Pelker, if any, as $________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's First Amendment Free Exercise claim against John Baldwin we find in favor of
(check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant John Baldwin

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant John Baldwin, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant John Baldwin as $________.___

We fix Plaintiff's punitive damages against Defendant John Baldwin, if any, as $________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's First Amendment Retaliation claim against Manuel Rojas we find in favor of
(check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Manuel Rojas

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Manuel Rojas, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant Manuel Rojas as $________.___

We fix Plaintiff's punitive damages against Defendant Manuel Rojas, if any, as $________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's Fourteenth Amendment Equal Protection claim against Manuel Rojas we find in
favor of (check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Manuel Rojas

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Manuel Rojas, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant Manuel Rojas as $________.___

We fix Plaintiff's punitive damages against Defendant Manuel Rojas, if any, as $________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's Fourteenth Amendment Equal Protection claim against Stephanie Dorethy we find
in favor of (check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Stephanie Dorethy

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Stephanie Dorethy, if any, as
$________.___

We fix Plaintiff's compensatory damages against Defendant Stephanie Dorethy as
$________.___

We fix Plaintiff's punitive damages against Defendant Stephanie Dorethy, if any, as
$________.___



Date: _____/_____/_____                       _________________________________
                                                          Presiding Juror
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's Fourteenth Amendment Equal Protection claim against Steve Gans we find in
favor of (check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Steve Gans

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Steve Gans, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant Steve Gans as $________.___

We fix Plaintiff's punitive damages against Defendant Steve Gans, if any, as $________.___



Date: _____/_____/_____                       _________________________________
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's Fourteenth Amendment Equal Protection claim against John Frost we find in favor
of (check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant John Frost

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant John Frost, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant John Frost as $________.___

We fix Plaintiff's punitive damages against Defendant John Frost, if any, as $________.___



Date: _____/_____/_____                       _________________________________
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's Fourteenth Amendment Equal Protection claim against Melissa Pelker we find in
favor of (check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant Melissa Pelker

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant Melissa Pelker, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant Melissa Pelker as $________.___

We fix Plaintiff's punitive damages against Defendant Melissa Pelker, if any, as $________.___



Date: _____/_____/_____                       _________________________________
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                                       VERDICT FORM
                              O’Neal v. Rojas, et. al., 4:18-cv-04063

On Plaintiff's Fourteenth Amendment Equal Protection claim against John Baldwin we find in
favor of (check one):

                                      _______        Plaintiff Aaron O’Neal

                                      _______        Defendant John Baldwin

Note: Complete the following paragraphs only if you find in favor of Plaintiff. If you find in favor
of Defendant, you must not assess any damages against Defendant.

We fix Plaintiff's nominal damages against Defendant John Baldwin, if any, as $________.___

We fix Plaintiff's compensatory damages against Defendant John Baldwin as $________.___

We fix Plaintiff's punitive damages against Defendant John Baldwin, if any, as $________.___



Date: _____/_____/_____                       _________________________________
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    EXHIBIT H
      Pretrial Motions
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                             Plaintiff’s Pretrial Motions

1. Plaintiff’s Motion in Limine
2. Plaintiff’s Memorandum in Support of Plaintiff’s Motion in Limine
                            4:18-cv-04063-KLM # 196         Page 74 of 74




                        IN THE UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                SPRINGFIELD DIVISION


AARON O’NEAL,                                        )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )        No. 18-cv-04063-SEM-TSH
                                                     )
MANUEL ROJAS, et al.,                                )        Judge Sue E. Myerscough
                                                     )
               Defendants.                           )

                                 CERTIFICATE OF SERVICE

       We hereby certify that on March 21, 2022, we electronically filed Proposed Draft Final

Pretrial Order with the Clerk of the Court using the CM/ECF system, which will send

notification of the filing to Defendants’ attorney below:


Maria D. Gray
ILLINOIS ATTORNEY GENERAL
500 S. Second Street
Springfield, IL 62701
(217) 782-5819
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                                                              /s Reede Neutze
                                                              /s Stephen Beemsterboer

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